                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION


UNITED STATES OF AMERICA          )
                                  )
                                  )
        v.                        )
                                  )
                                  )                              CIVIL NO. 3:20CV594
APPROXIMATELY $88,756.32 IN FUNDS )
SEIZED BANK OF AMERICA ACCOUNT )
XXXXXX0535, SUCH ACCOUNT HELD IN )
THE OF CELLPORT INTERNATIONL INC. )
                                  )
                                  )

                                  ORDER OF DEFAULT JUDGMENT

       THIS CAUSE COMES BEFORE THE COURT upon the Government’s Motion for Entry of

Default Judgment. (Doc. 8). Having considered the Motion and the pleadings, the Court GRANTS

the Motion and Orders as follows:

       IT IS HEREBY ORDERED THAT Judgment by Default is entered against all persons in the

world not having filed a claim in this action as to the following property:

       Approximately $88,756.32 in Funds seized from Bank of America account

XXXXXX0535 in the name of Cellport International Inc. pursuant to a federal seizure warrant

(WDNC Case 3:19MJ356) for forfeiture.


                                             Signed: January 12, 2021




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